Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page1of11

Exhibit 6

Solicitation Procedures
Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 2 of 11

SOLICITATION PROCEDURES

The following procedures (the “Solicitation Procedures”) will govern the solicitation and tabulation of
votes to accept or reject the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy
Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the Bankruptcy
Code [D.I.___] (as may be modified, amended, or supplemented from time to time, the “Plan”), which applies to
Energy Future Holdings Corp. (“EFH Corp.”), certain of its direct and indirect subsidiaries (together with EFH
Corp., the “EFH Debtors”),! Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc.
(together with EFIH, the “EFIH Debtors” and the EFIH Debtors, together with the EFH Debtors, collectively, the
“EFH/EFIH Debtors”).

These Solicitation Procedures comprise a material part of the Disclosure Statement for the First Amended
Joint Plan of Reorganization of Energy Future Holdings Corp., Energy Future Intermediate Holding Company
LLC, and the EFH/EFIA Debtors Pursuant to Chapter 11 of the Bankruptcy Code, dated [ ], 2017 (as may be
modified, amended or supplemented from time to time, the “EFH Disclosure Statement”) to which these procedures
are attached as Exhibit G and incorporated by reference.

A. Defined Terms.

Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in
the Plan. Other capitalized terms have the following meaning as used in these Solicitation Procedures:

1. “Ballot” means the form or forms distributed to Holders of Claims and Interests against the
EFH/EFIH Debtors in the Voting Classes or their Nominees by which such parties may indicate
acceptance or rejection of the Plan.

2. “Beneficial Holder” means a person or entity that holds the benefits of ownership of a publicly
traded security even though title may be in another’s name.

3. “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against the
EFH/EFIH Debtors.
4. “Claims Bar Date” means any such date established by the Bankruptcy Court by which Proofs of

Claim must be filed with respect to any such Claims, as may be ordered by the Bankruptcy Court.

5. “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Cases,
subject to all conditions specified in Article IX.A of the Plan having been (a) satisfied or
(b) waived pursuant to Article [X.C of the Plan.

6. “Confirmation Hearing” means the hearing held by the Bankruptcy Court on Confirmation of the
Plan as to the EFH/EFIH Debtors pursuant to section 1129 of the Bankruptcy Code.

7. “Solicitation Date” means ten business days after the EFH/EFIH Debtors file the final version of
the EFH Disclosure Statement with the Court, or as soon as reasonably practicable thereafter, on
which date the EFH/EFTH Debtors shall commence the distribution of Solicitation Packages to
Holders of Claims and Interests against the EFH/EFIH Debtors in the Voting Classes.

! The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.
Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 3of11

10.

11.

“Solicitation Package” means the solicitation materials and documents to be sent to Holders of
Claims and Interests against the EFH/EFIH Debtors in the Voting Classes as discussed in the EFH
Disclosure Statement, which materials will provide such Holders with the information needed to
vote on the Plan.

“Voting Deadline” means October 30, 2017, at 4:00 p.m. (prevailing Eastern Time) by which time
Ballots and Master Ballots must be actually received by the Solicitation Agent.

“Voting Record Date” means September 6, 2017, the date for purposes of (i) determining those
Holders of Claims and Interests against the EFH/EFIH Debtors in the Voting Classes that are
entitled to vote to accept or reject the Plan and (ii) calculating the principal amount of the TCEH
First Lien Claims held by the TCEH Supporting First Lien Creditors for purposes of voting on
account of the TCEH Settlement Claim.

“EFH Non-Voting Classes” means the following Classes of Claims and Interest against the EFH
Debtors not entitled to vote under the Plan:

Al

Not Entitled to Vote (Deemed to Accept)

Debtors
A2 Other Priority Claims Against the EFH Not Entitled to Vote (Deemed to Accept)
Debtors
Legacy General Unsecured Claims :
A3 Against the EFH Debtors Not Entitled to Vote (Deemed to Accept)
Al2 EFH Debtor Intercompany Claims Not Entitled to Vote (Deemed to Accept
or Reject)
Al3 Non-EFH Debtor Intercompany Claims Not Entitled to Vote (Deemed to Reject)
Al4 Interests in EFH Debtors Other Than EFH | Not Entitled to Vote (Deemed to Accept
Corp. or Reject)
Al5 Interests in EFH Corp. Not Entitled to Vote (Deemed to Reject)

12.

“EFH Voting Classes” means the following Classes of Claims and Interest against the EFH

Debtors entitled to vote under the Plan:

A4 EFH Legacy Note Claims Entitled to Vote

AS EFH Unexchanged Note Claims Entitled to Vote

A6 EFH LBO Note Primary Claims Entitled to Vote

A7 EFH Swap Claims Entitled to Vote

A8 EFH Non-Qualified Benefit Claims Entitled to Vote
General Unsecured Claims Against .

A9 EFH Corp. Entitled to Vote
General Unsecured Claims Against

Al0d the EFH Debtors Other Than EFH Entitled to Vote
Corp.

Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 4of11

TCEH Settlement Claim

Entitled to Vote

13.

“EFIH Non-Voting Classes” means the following impaired classes of Claims and Interests not

entitled to vote under the Plan (and together with the EFH Non-Voting Classes, the “Non-Voting
Classes”):

Other Secured Claims Against the .
Bl EFIH Debtors Not Entitled to Vote (Deemed to Accept)
Other Priority Claims Against the .
B2 EFIH Debtors Not Entitled to Vote (Deemed to Accept)
B3 EFIH First Lien Note Claims Not Entitled to Vote (Deemed to Accept)
B4 EFIH Second Lien Note Claims Not Entitled to Vote (Deemed to Accept)
B7 EFIH Debtor Intercompany Claims Not Entitled to Vote (Deemed to Accept
or Reject)
B8 Non-EFIH Debtor Intercompany Not Entitled to Vote (Deemed to Reject)
Claims
B9 Interests in EFIH Not Entitled to Vote (Deemed to Accept)
B10 Interests in EFTH Finance Not Entitled to Vote (Deemed to Reject)
14. “EFIH Voting Classes” means the following impaired classes of Claims and Interests entitled to

vote under the Plan (and together with the EFH Voting Classes, the “Voting Classes”):

B5 EFH LBO Note Guaranty Claims Entitled to Vote
General Unsecured Claims Against .
B6 the EFIH Debtors Entitled to Vote

15. “Holder” means an Entity holding a Claim or an Interest, as applicable, against the EFH/EFIH
Debtors.

16. “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is impaired within the meaning of section 1124 of the Bankruptcy Code.

17. “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code).

18. “Master Ballot” means a Ballot submitted by a Nominee on behalf of one or more Beneficial
Holders.

19. “Nominee” means a record holder of securities for the benefit of one or more Beneficial Holders,

including, without limitation, representatives such as brokers, banks, commercial banks, transfer
agents, trust companies, dealers, other agents or nominees, or their mailing agents.

20. “Notes Claims” means, collectively, the (a) EFIH First Lien Note Claims, (b) EFIH Second Lien
Note Claims, (c) EFIH Unsecured Note Claims, (d) EFH Legacy Note Claims, (e) EFH

Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 5of11

Unexchanged Note Claims, (f) EFH LBO Note Primary Claims, or (g) EFH LBO Note Guaranty
Claims.

21. “Petition Date” means April 29, 2014, the date on which the Debtors commenced the Chapter 11
Cases.

22. “Proofs of Claim” means a proof of Claim filed against any of the Debtors in the Chapter 11
Cases.

23. “Schedules” means the schedules of assets and liabilities, schedules of Executory Contracts or
Unexpired Leases, and statement of financial affairs filed by the Debtors pursuant to section 521
of the Bankruptcy Code, the official bankruptcy forms, and the Bankruptcy Rules, as they may be
amended, modified, or supplemented from time to time.

24. “Solicitation Agent” means Epiq Bankruptcy Solutions, LLC.
25. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests

that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

26. “Voting Report” means the report submitted by the Solicitation Agent detailing the results of the
plan solicitation process.

B. Holders of Claims and Interests Against the EFH/EFIH Debtors Entitled to Vote to Accept or Reject
the Plan.

Only the Holders of Claims and Interests in the Voting Classes as of the Voting Record Date shall be
entitled to vote to accept or reject the Plan with regard to such Claims and Interests.

Cc. Holders of Claims and Interests Against the EFH/EFIH Debtors Not Entitled to Vote to Accept or
Reject the Plan.

Holders of Claims and Interests in the Non-Voting Classes are not entitled to vote to accept or reject the
Plan with regard to such Claims and Interests. Holders of Claims or Interests in these Non-Voting Classes are either
Unimpaired and deemed to accept the Plan or Impaired and deemed to reject the Plan. The Holders of Claims and
Interests in the Non-Voting Classes will receive an applicable notice of non-voting status.

D. Temporary Allowance of Claims for Tabulation Purposes.

Solely for purposes of voting to accept or reject the Plan, and not for the purpose of making distributions on
account of any Claim or Interest, and without prejudice to the rights of the Debtors or any other party in interest in
any other context, each Claim or Interest within a Voting Class shall be temporarily allowed as set forth in Section E
of these Solicitation Procedures.

If any creditor seeks to challenge the allowance of its Claim for voting purposes in accordance with the
above procedures, the EFH/EFIH Debtors request the Court direct such claimant to serve on counsel for the
EFH/EFIH Debtors and file with the Court a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily
allowing such Claim in a different amount for purposes of voting to accept or reject the Plan. In accordance with
Bankruptcy Rule 3018, any Ballot submitted by any claimant filing such a motion will not be counted unless
temporarily allowed by an order issued by the Court prior to the Voting Deadline.

E. Establishing Claim and Interest Amounts for Voting Purposes.

The Claim or Interest amounts temporarily allowed pursuant to and set forth in these Solicitation
Procedures shali control solely for voting purposes, and shall not constitute the Allowed amount of any Claim or
Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 6of11

Interest for distribution purposes under the Plan. In tabulating votes, the below directions shall be used to determine
the amount of the Claim and Interest associated with each Holder’s vote:

1. with respect to the following Note Claims, Claim Amounts will be calculated based on the
principal amounts outstanding under the respective operative indenture as of the Voting Record
Date:

a) EFH Legacy Note Claims, included in Class A4 - EFH Legacy Note Claims;

b) EFH Unexchanged Note Claims, included in Class A5 - EFH Unexchanged
Note Claims;

c) EFH LBO Note Primary Claims, included in Class A6 - EFH LBO Note Primary
Claims;

d) EFH Series N Note Claims, included in Class A9 - General Unsecured Claims
Against EFH Corp.;

e) EFH LBO Note Guaranty Claims, included in Class B5 - EFH LBO Note

Guaranty Claims; and

f) EFIH Unsecured Note Claims, included in Class B6 - General Unsecured
Claims Against the EFIH Debtors.

2. with respect to non-Note Claims included within Classes A7, A8, A9, Al0, All, and B6, the
Claim amounts will be calculated as follows:

(a) each non-Note Claim entitled to vote to accept or reject the Plan shall be allowed in an
amount equal to the amount determined by the amount of such Claim as set forth in a
timely filed proof of Claim or, if no proof of Claim was filed, the liquidated, non-
contingent, undisputed amount of such Claim as set forth in the Schedules; provided,
however, that a party whose Claim has been indefeasibly paid, in full or in part, shall only
be permitted to vote the unpaid amount of such Claim, if any, to accept or reject the Plan;

(b) the Claim amount settled and/or agreed upon by the Debtors and the Holder of such non-
Note Claim (whether temporarily or otherwise) as reflected in a document filed with the
Court, in an order of the Court, or in a document executed by the EFH/EFIH Debtors
pursuant to authority granted by the Court but for voting purposes only, and not for
purposes of allowance or distribution;

(c) a Claim that is listed in the Schedules as contingent, unliquidated, or disputed and for
which a Proof of Claim was not (i) filed by the applicable Claims Bar Date for the filing
of Proofs of Claim established by the Court; or (ii) deemed timely filed by an order of the
Court prior to the Voting Deadline is not entitled to vote;

(d) if a Claim is listed on a timely filed Proof of Claim as contingent, unliquidated, or
disputed in part, such Claim is temporarily allowed in the amount that is liquidated, non-
contingent, and undisputed for voting purposes only, and not for purposes of allowance
or distribution;

(e) if a Claim has been estimated or otherwise allowed for voting purposes by order of the
Court, such Claim is temporarily allowed in the amount so estimated or allowed by the
Court for voting purposes only, and not for purposes of allowance or distribution;

Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 7 of 11

(pH notwithstanding anything to the contrary contained herein, any creditor who has filed or
purchased duplicate Claims within the same Voting Class shall be provided with only one
Solicitation Package and one ballot for voting a single Claim in such Class, regardless of
whether the EFH/EFIH Debtors have objected to such duplicate Claims;

(g) claims filed for $0.00 are not entitled to vote; and
(h) if a Proof of Claim has been amended by a later, timely filed proof of claim, only the

later-filed amending Claim will be entitled to vote, regardless of whether the EFH/EFIH
Debtors have objected to such earlier filed Claim.

3. with respect to the EFH Interests, included in Class A15, Interest amounts will be calculated based
on the number of shares of common stock in EFH Corp. held as of the EFH/ EFTH Voting Record
Date;

4. with respect to all Claims, if a Claim for which a Proof of Claim has been timely filed for

unknown or undetermined amounts or is wholly unliquidated, contingent, or disputed (as
determined (i) on the face of the Claim, (ii) pursuant to the Plan, or (iii) after a reasonable review
of the supporting documentation by the EFH/EFIH Debtors or the Solicitation Agent) and such
Claim has not been allowed, such Claim shall be temporarily allowed for voting purposes only,
and not for purposes of allowance or distribution, at $1.00; provided, that with respect to clause
(iii) of this paragraph, any such determinations will be documented in the Voting Report; and

5. with respect to Class All, which consists of the TCEH Settlement Claim, the time immediately
prior to the TCEH Effective Date shall be the date for calculating the principal amount of TCEH
First Lien Claims held by the TCEH Supporting First Lien Creditors for purposes of voting on
account of the TCEH Settlement Claim.

If a Holder of a Claim or Interest against the EFH/EFIH Debtors identifies a Claim or Interest amount on its
Ballot that is different from the amount otherwise calculated in accordance with these Solicitation Procedures, such
Claim or Interest will be allowed temporarily for voting purposes in the amount calculated in accordance with these
Solicitation Procedures. Moreover, any amounts filled in on Ballots or Master Ballots by the EFH/EFIH Debtors
through the Solicitation Agent are not binding for any purpose, including allowance and distribution.

If, by seven days before the Voting Deadline, the EFH/EFIH Debtors have filed (i) an objection to disallow
or modify (including, but not limited to, modifications to the EFH/EFIH Debtor, amount, priority, or classification
asserted) a Claim or Interest or (ii) a motion to allow or estimate a Claim or Interest in an amount different from the
amount asserted in such Claim or Interest, such Claim or Interest will be temporarily allowed for voting purposes in
the lesser amount and classification requested by such objection or motion, subject to the right of the Holder to file a
motion objecting to such amounts (as described in Section D of these Solicitation Procedures).

The EFH/EFIH Debtors are authorized to enter into stipulations with the Holder of any Claim or Interest
against the EFH/EFIH Debtors, in each case agreeing to the amount of the Claim or Interest for voting purposes
without further Court order.

F, General Ballot Tabulation.

Subject to Section I of these Solicitation Procedures, the following voting procedures and standard
assumptions shall be used in tabulating Ballots:

1. except as otherwise provided in these Solicitation Procedures, unless a Ballot is actually received
on or before the Voting Deadline, the Debtors shall reject such Ballot as invalid and decline to
count it in connection with Confirmation;
Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 8 of 11

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the Solicitation Agent will date all Ballots when received and will retain the original Ballots and
an electronic copy of the same for a period of one year after the Effective Date, unless otherwise
ordered by the Bankruptcy Court;

the EFH/EFIH Debtors will file the Voting Report with the Bankruptcy Court before the
Confirmation Hearing. The Voting Report shall, among other things, delineate every irregular
Ballot, including those Ballots that are late or (in whole or in material part) illegible,
unidentifiable, lacking signatures or lacking necessary information, received via facsimile or
electronic mail, or damaged. The Voting Report shall indicate the EFH/EFIH Debtors’ intentions
with regard to such irregular Ballots;

the method of delivery of Ballots to be sent to the Solicitation Agent is at the election and risk of
each Holder, and except as otherwise provided, a Ballot will be deemed delivered only when the
Solicitation Agent actually receives the appropriately, originally executed Ballot;

Holders of Claims and Interests in a Voting Class may only submit an original executed Ballot.
Delivery of a Ballot to the Solicitation Agent by facsimile, email, or any other electronic means
will not be valid;

no Ballot should be sent to any of the EFH/EFIH Debtors, the EFH/EFIH Debtors’ agents (other
than the Solicitation Agent), any administrative agent or indenture trustee (unless specifically
instructed to do so), or the EFH/EFIH Debtors’ financial or legal advisors, and, unless received by
the Solicitation Agent, if so sent will not be counted;

if a Holder or Nominee submits multiple Ballots with respect to the same Claim or Interest before
the Voting Deadline, the latest properly completed Ballot timely received will be deemed to reflect
that Holder’s or Beneficial Holder’s intent and will supersede and revoke any prior received
Ballot;

if a Holder holds a Claim or Interest, as applicable, in a Voting Class against multiple Debtors, a
vote on its Ballot will apply to all Debtors against whom such Holder or Nominee has a Claim or
Interest, as applicable, in that Voting Class;

for purposes of the numerosity requirement of section 1126(c) of the Bankruptcy Code, separate
Claims held by a single creditor in a particular Class shall be aggregated as if such creditor held
one Claim against. the Debtor in such Class, and the votes related to such Claims shall be treated as
a single vote to accept or reject the Plan;

if a voter simultaneously casts inconsistent Ballots, such Ballots will not be counted;

Holders must vote all of their Claims or Interests within a Voting Class either to accept or reject
the Plan and may not split any votes. Accordingly, a Ballot that partially rejects and partially
accepts the Plan will not be counted. Further, to the extent a Holder holds multiple Claims within
a Voting Class, the Debtors may, in their discretion, aggregate the Claims of any particular Holder
within the Voting Class for the purpose of counting votes;

a person signing a Ballot in its capacity as a trustee, executor, administrator, guardian, attorney in
fact, officer of a corporation, or otherwise acting in a fiduciary or representative capacity should
indicate such capacity when signing and, if required or requested by the applicable Nominee or its
agent, the Solicitation Agent, the EFH/EFIH Debtors, or the Bankruptcy Court must submit proper
evidence to so act on behalf of such Holder or Beneficial Holder;

neither the EFH/EFIH Debtors, nor any other entity, will be under any duty to provide notification
of defects or irregularities with respect to delivered Ballots other than as provided in the Voting
Report, nor will any of them incur any liability for failure to provide such notification, although
Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 9of11

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the Solicitation Agent may, in its discretion, contact voting parties to cure any such defects or
irregularities;

any defects or irregularities in connection with deliveries of Ballots must be cured before the
Voting Deadline or such Ballots will not be counted, unless waived or as ordered by the
Bankruptcy Court;

notwithstanding any other conditions included herein, the EFH/EFIH Debtors may waive any
defects or irregularities as to any particular Ballot at any time, either before or after the close of
voting, and any such waivers will be documented in the Voting Report;

if a party-in-interest requests a designation to vote on the Plan under section 1126(e) of the
Bankruptcy Code, the Bankruptcy Court will determine whether any vote to accept and/or reject
the Plan cast with respect to that Claim or Interest will be counted for purposes of determining
whether the Plan has been accepted and/or rejected;

the EFH/EFIH Debtors reserve the right to reject any Ballot or Master Ballot not in proper form,
the acceptance of which, in the opinion of the EFH/EFIH Debtors, would not be in accordance
with the provisions of the Bankruptcy Code or the Bankruptcy Rules; provided, that any such
rejections will be documented in the Voting Report;

any Holder entitled to vote that has delivered a Ballot may withdraw such Ballot solely in
accordance with Bankruptcy Rule 3018(a);

the following Ballots will not be counted in determining the acceptance or rejection of the Plan:

(a) any Ballot that is illegible or contains insufficient information to permit the identification
of the Holder of the Claim or Interest;

(b) any Ballot cast by or on behalf of an entity that does not hold a Claim or Interest in a
Voting Class;

(c) any Ballot that does not contain an original signature;

(d) any Ballot that is signed but does not otherwise comply with the requirement set forth in

Section F.12., above;

(e) any Ballot not marked to accept or reject the Plan, or marked both to accept and reject the
Plan; and
(f) any Ballot submitted by or on behalf of any entity not entitled to vote pursuant to the

Plan, these Solicitation Procedures, or any order of the Bankruptcy Court; and

any Class that contains Claims or Interests entitled to vote but no votes are returned for such Class
shall be deemed to have accepted the Plan.
Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 10 of 11

G. Voting Procedures Applicable to Beneficial Holders of Notes Claims.
The following additional procedures will apply to the voting of Claims held by Beneficial Holders:

1. on the Solicitation Date, the Solicitation Agent shall distribute or cause to be distributed a
Solicitation Package to each registered Holder of a Notes Claim as of the Voting Record Date, and
distribute the appropriate number of Solicitation Packages” to the Nominees identified by the
Solicitation Agent;

2. each Nominee through which one or more Beneficial Holders holds a Notes Claim as of the
Voting Record Date must distribute an Solicitation Package to each Beneficial Holder for which it
holds the Notes Claim within five business days of receipt of such materials from the EFH/EFIH
Debtors in one of the following two ways (as selected by the Nominee):

(a) obtain the votes of Beneficial Holders of such Notes Claims by (i) immediately
distributing the Solicitation Package, including Ballots, it receives from the Solicitation
Agent to all such Beneficial Holders, (ii) promptly collecting Ballots from such
Beneficial Holders that cast votes on the Plan, (iii) compiling and validating the votes and
other relevant information of all such Beneficial Holders on the Master Ballot, and (iv)
transmitting the Master Ballot to the Solicitation Agent by the Voting Deadline; or

(b) distribute pre-validated Ballots pursuant to the following procedures:

(i) the Nominee shall forward to each Beneficial Holder as of the Voting Record
Date the Solicitation Package, an individual Ballot that has been pre-validated,
postage prepaid return envelope as indicated in paragraph (ii) below;

Gi) to pre-validate a Ballot, the Nominee should complete the first item and execute
the Ballot and indicate on the Ballot the name of the Nominee and DTC
participant number, the amount of securities held by the Nominee for the
Beneficial Holder, and the account number for the account in which such
securities are held by the Nominee; and

(iii) the Beneficial Holder shall complete and return the pre-validated Ballot to the
Solicitation Agent by the Voting Deadline.

3. any Nominee of Notes Claims holding such securities both as record holder and Beneficial Holder
in its own name may vote on the Plan by completing a Ballot or a Master Ballot and returning it
directly to the Solicitation Agent on or before the Voting Deadline;

4. any indenture trustee (unless otherwise empowered to do so under the respective indenture) will
not be entitled to vote on behalf of the Beneficial Holder; rather, each Beneficial Holder must vote
his or her own Claim(s);

5. any Ballot returned to a Nominee by a Beneficial Holder of a Notes Claim will not be counted for
purposes of accepting or rejecting the Plan until such Nominee properly completes and delivers to
the Solicitation Agent by the Voting Deadline a Master Bailot that reflects the vote of such
Beneficial Holder, or otherwise validates the Ballot in a manner acceptable to the Solicitation
Agent. Nominees shall retain all Ballots returned by Beneficial Holders for a period of one year
after the effective date of the Plan, or, in the case of pre-validated Ballots, a list of Beneficial

2 The Solicitation Packages shall contain Ballots for voting by the Beneficial Holders. In accordance with its customary

practice, the Solicitation Agent shall distribute copies of Master Ballots to any relevant Nominees after the Solicitation
Packages have been forwarded to the Beneficial Holders.

Case 14-10979-CSS Doc 11870-12 Filed 09/06/17 Page 11of11

Holders to whom pre-validated Ballots were sent for a period of at least one year after the Voting
Deadline;

6. if a Beneficial Holder of a Notes Claim holds securities through more than one Nominee or
through multiple accounts, such Beneficial Holder may receive more than one Ballot, and each
such Beneficial Holder should execute a separate Ballot for each block of securities that it holds
through any Nominee and must return each such Ballot to the appropriate Nominee; and

7. if a Beneficial Holder of a Notes Claim holds a portion of its securities through a Nominee or
Nominees and another portion in its own name as the record Beneficial Holder, such Beneficial
Holder should follow the procedures herein to vote the portion held in its own name and to vote
the portion held by the Nominee(s).

H. Tabulation of Master Ballots.
These rules will apply with respect to the tabulation of Master Ballots:

1. votes cast by Beneficial Holders through Nominees will be applied to the positions held by such
Nominees as of the Voting Record Date, as evidenced by the record and depository listings. Votes
submitted by a Nominee, whether pursuant to a Master Ballot or pre-validated Ballot, will not be
counted in excess of the principal amount held by such Nominee as of the Voting Record Date;
provided, however, that the Solicitation Agent may adjust such principal amount to reflect the
portion of the relevant Notes Claim actually voted; provided further, that any such adjustment will
be documented in the Voting Report;

2. if conflicting votes or “over-votes” are submitted by a Nominee, whether pursuant to a Master
Ballot or pre-validated Ballot, the EFH/EFIH Debtors will attempt to reconcile discrepancies with
the Nominee;

3. if over-votes on a Master Ballot or pre-validated Ballot are not reconciled before the preparation
of the Voting Report, the EFH/EFJH Debtors will apply the votes to accept and to reject the Plan
in the same proportion as the votes to accept and reject the Plan submitted on the Master Ballot or
pre-validated Ballot that contained the over-vote, but only to the extent of the Nominee’s position
in the Class; and

4.. a single Nominee may complete and deliver to the Solicitation Agent multiple Master Ballots.
Votes reflected on multiple Master Ballots will be counted, except to the extent they are
duplicative of other Master Ballots. If a Nominee submits multiple Master Ballots with respect to
the same Claim or Interest before the Voting Deadline, the latest properly completed Master Ballot
timely received will be deemed to reflect that Nominee’s intent and will supersede and revoke any
prior received Master Ballot

I. EFH/EFIH Debtors’ Reservation of Rights Regarding Modification to the Plan.
The EFH/EFIH Debtors expressly reserve the right to modify the Plan from time to time in accordance with

the terms thereof (subject to compliance with the requirements of section 1127 of the Bankruptcy Code and the
applicable terms of the Plan regarding modification).

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